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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLUMBIA


    DISTRICT OF COLUMBIA,

                                      Plaintiff,

                    v.

    EXXON MOBIL CORP., EXXONMOBIL                                      Civil Action No. 1:20-cv-01932-TJK
    OIL CORPORATION, ROYAL DUTCH
    SHELL PLC, SHELL OIL COMPANY, BP
    P.L.C., BP AMERICA INC., CHEVRON
    CORPORATION, CHEVRON U.S.A. INC.,

                                      Defendants.


                                             NOTICE OF APPEAL

         Notice is given that Defendants Exxon Mobil Corporation, ExxonMobil Oil Corporation,

Shell plc (f/k/a Royal Dutch Shell plc), Shell USA, Inc. (f/k/a Shell Oil Company), BP p.l.c., BP

America Inc., Chevron Corporation, and Chevron U.S.A. Inc., hereby appeal to the United States

Court of Appeals for the District of Columbia Circuit, pursuant to 28 U.S.C. §§ 1291 and 1447(d),

from the Order and Memorandum Opinion (ECF Nos. 117, 118) of the Court granting Plaintiff’s

Motion to Remand this action to the Superior Court of the District of Columbia, both entered on

the 12th day of November, 2022.1




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 This is Notice of Appeal is submitted subject to, and without waiver of, any defense, affirmative defense, or objection,
including personal jurisdiction, insufficient process, insufficient service of process, or lack of service of process.

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DATED: November 28, 2022

Respectfully submitted,

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